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UNITED STATES BANKRUPTCY COURT                                           VOLUNTARY PETITION
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION                                                        Case No. 14 B
Name of Debtor (if individual, enter Last, First, Middle:               Name of Joint Debtor (Spouse):
WILLIAMS, DWAYNE
All other names used by Debtor in the past eight (8) years: All other names used by Joint Debtor in the past eight
(include married, maiden and trade names) (8) years:
Social Security/EIN/Tax ID No. (if more than one, state all): Social Security/EIN/Tax ID No. (if more than one,
XXX-XX-3146                                                                                        state all):
Street Address of Debtor: Street Address of Joint Debtor:
8411 S. Racine Av.,
Chicago, Illinois 60620
County of Residence or Principal Place of Business County of Residence or Place of Business
Cook
Mailing Address of Debtor or of Joint Debtor (if different from street address)
Location of Principal Assets of Business Debtor (if different from street address):

Type of Debtor Type of Business Chapter of Bankruptcy Code of Filing
X__ Individual            __ Health Care Business                 X_ Chapter 7 __ Chapter 15 Petition
___ Corporation          __ Single Asset Real Estate as defined   __ Chapter 9 for Recognition of
___ Partnership          in 11 U.S.C. Section 101(51B)            __ Chapter 11 Foreign Main Proceeding
___ Other (if not one    __ Railroad                              __ Chapter 12 __ Chapter 15 Petition for
Of above entities, state __ Stockbroker                           __ Chapter 13 Recognition of a Foreign
Type of entity below)    __ Commodity Broker Nonmain Proceeding
__ Clearing Bank
Nature of Debts
__ Other                 X__ Primarily Consumer __ Primarily business

Tax-Exempt Entity Debts, defined in 11 USC
__ Debtor is a tax-exempt 101(8) as “incurred by an
organization under Title 26 individual primarily for a
United States Code (the Internal personal, family or house-
Revenue Code). hold purpose.”
Filing Fee Chapter 11 Debtors
__ Full filing fee attached                                             __Debtor is a small business under 11 USC
_X_ Filing fee to be paid in installments (individuals                            101(51D).
only). Must attach signed application for court’s consideration          _X_ Debtor is not a small business under 11
certifying That debtor is unable to pay fee except in installments.               USC 101(51D).
Rule 1006(b).                                                            See Official Form 3A.
__ Filing Fee waiver requested (Chapter 7 individuals                   __ Debtor’s aggregate noncontingent
Only). Must attch signed application for court’s consideration.         liquidated debts (excluding debts owed to
See Official Form 3B.                                                   insiders or affiliates) are less than
                                                                        $2,190,000.
Statistical / Administrative Information
__ Debtor estimates that funds will be available for distribution to unsecured creditors.
_X__ Debtor estimates that, after exempt property is excluded and administrative expenses
paid, there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
X__ 1 – 49 ____ 50 – 99 ____ 100 or more
Estimated Assets
_X_ $0 – $50,000 ____ $50,001 - $100,000 __X__ $100,001 or greater
Estimated Debts
_X_ $0 – $50,000 ____ $50,001 - $100,000 __X___ $100,001 or greater
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WILLIAMS, DWAYNE, Debtor
Prior Bankruptcy Case filed within the last eight (8) years (if more than two, attach additional sheet)
Location of Filing:              Case Number: Date of Filing:

Pending Bankruptcy Case filed by Spouse, Partner or Affiliate of Debtor:
Location of Filing: Case Number: Date of Filing: District: Relationship: Judge:

Exhibit A                                       Exhibit B (to be completed if debtor is an individual whose debts
(To be completed if Debtor is required                    are primarily consumer debts)
To file periodic reports with the Securities
Exchange Commission

I, Michael J. Greco, Attorney for Debtor(s) and Petitioner named in the foregoing Petition, declare that I have
informed the Petitioner(s) that he may proceed under Chapters 7, 11, 12, or 13 of Title 11, United
States Code, and explained to them the relief available under each Chapter.
I certify that I have delivered to Debtors the notice required by Title 11 USC Section 342(b).

X_______________/s/_Michael J. Greco__________                      9/29/2014
Signature of Michael J. Greco, Attorney for Debtor(s)               Date

Exhibit C
Does the Debtor own or possess any property that poses or is alleged to pose a threat of imminent and identifiable
harm to public health or safety?
___ Yes, and Exhibit C is attached and made a part of this Petition.
_X_ No.

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a
separate Exhibit D).
X__ Exhibit D completed and signed by the Debtors is attached and made a part of this petition.
(to be completed if debtor is an individual whose debts are primarily consumer debts)

Information regarding the Debtor -- Venue
X_ Debtors has been domiciled or had a residence or principal place of business in this District for 180 days
preceding the date of this Petition.
__ There is a bankruptcy case concerning Debtor’s affiliate, general partner or partnership pending in this District.
__ Debtor is debtor in a foreign proceeding and has its principal place of business or principal assets in the United
States in this District, or is a defendant in a proceeding in this District, or the interests of the parties will be served in
regard to the relief sought in this District.

Certification by Debtor who resides as a tenant of residential property
__ Landlord has a judgment against Debtor for possession of Debtor’s residence (Complete following if checked)
______________________________________(Name of Landlord that obtained judgment) (Address of Landlord)
__ Debtor claims that under applicable nonbankruptcy law there are circumstances under which the debtor would
be permitted to cure the entire monetary default that gave rise to the judgment for possession, after judgment was
entered, and
__ Debtor has included with this petition the deposit with the court of any rent that would become due within the
30-day period after filing of the petition.
__ Debtor certifies that she has served the Landlord with this certification. (11 USC Section 362(1)).
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SIGNATURES

SIGNATURE OF DEBTOR(S) (INDIVIDUAL OR JOINT)
I declare under penalty of perjury that the information provided in the Petition is true and correct.
[If Petitioner is an Individual whose debts are primarily consumer debts and has chosen to file
under Chapter 7:] I am aware that I may proceed under Chapters 7, 11, 12, or 13 of Title 11,
United States Code, understand the relief available to me under each Chapter, and choose to
proceed under Chapter 13.


________________/S/_ DWAYNE WILLIAMS_________________
Signature of Debtor DWAYNE WILLIAMS


Signature of Attorney*
Respectfully submitted,


By:________________/s/_Michael J. Greco ___
Michael J. Greco, Attorney for Debtor(s)
175 W. Jackson Boulevard
Suite 1600
Chicago, Illinois 60604
(312) 222-0599
Atty. No. 06201254
Date: September 29, 2014

*In a case in which Section 707(b)(4) applies, this signature constitutes also a certification that
the attorney has no knowledge after an inquiry that the information in the schedules is incorrect.
